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                                                      UNITED STATES DISTRICT COURT
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                                                            EASTERN DISTRICT OF CALIFORNIA
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                          9   HOLLISTER GEORGE,                             )   1:08-CV-132 AWI MJS (HC)
                                                                            )
                         10                          Petitioner,            )
                                                                            )
                         11                                                 )   ORDER TAKING MATTER UNDER
                                     v.                                     )   SUBMISSION
                         12                                                 )
                                                                            )
                         13   W.J. SULLIVAN,                                )
                                                                            )
                         14                          Respondent.            )
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                         17          Currently pending before the Court is Petitioner’s renewed motion for stay. Hearing on the
                         18   motion is scheduled for December 20, 2010. Pursuant to Local Rule 230(c), the court has reviewed
                         19   the moving papers and has determined that the matter is suitable for decision without oral argument.
                         20   Local Rule 230.
                         21          Therefore, IT IS HEREBY ORDERED that the previously set hearing date of December 20,
                         22   2010, is VACATED, and the parties shall not appear at that time. As of December 20, 2010, the
                         23   Court will take the matter under submission and will thereafter issue its decision.
                         24   IT IS SO ORDERED.
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                              Dated:      December 16, 2010
                         26   0m8i78                                              CHIEF UNITED STATES DISTRICT JUDGE
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